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AO 440 (Rev, 06/12) Summons in a Ch•il Action


                                     UNITED STATES DISTRICT COURT

                                                I
                                                                 for the
                                                    Southern District of New York       i
Ismael Juarez, on behalf of himself and others similarly           )
                      situated                                     )
                                                                   )
                                                                   )
                       Plaintif}(3)                                )
                           v.                                      )       Civil Action No. 24-CV-2736
    Krua Thai NYC Corp. d/b/a Chomp Chomp Thai                     )
          Kitchen, and Nuntaporn Thongwan                          )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)Krua Thai NYC Corp. c/o NY Secretary of State, One Commerce Plaza, 99 Washingto
                                                                                                                  n
                                  Avenue - 6th Floor, Albany, NY 12231;

                                      Nuntaporn Thongwan, 78 East 1st Street, NY, NY 10009.



          A lawsuit has been filed against you.

         Within 2 t days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Cilenti & Cooper, PLLC
                                60 East 42nd Street - 40th Floor
                                New York, NY 10165



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             CLERK OF COURT

            04/12/2024                                                              /S/ V. BRAHIMI
Date:
                                                                                        Sig11af11l'e of Clerk or Deputy Clerk
